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IN DISTRICT COURT ( (hence
IN THE DISTRICT COURT OF OKLAHON AAI COUNTY

STATE OF OKLAHOMA
FEB 25 2021

DEBORA K. BALFOUR, ) ICK W AKREN
_ ) COURT CLERK

Plaintiff, ) 124 nr

vs. ) Case No.: CJ-2021-
) e

CARNIVAL CRUISE LINE, ) Cj 9071 . g 1 1
And yet identified sub-contractors, ) -
Servants, and employees )

Defendants. )

PETITION

COMES NOW the Plaintiff, Debora Balfour, by and through her attorney, Gaylon

C Hayes, and for her causes of action against the Defendant states as follows:
JUSRIDICTION AND VENUE
1. The Plaintiff is a resident of Oklahoma, and a citizen of Oklahoma County.

2. The Defendant is a business with a headquarters in Florida, and does business

throughout the world.

3. All of the Plaintiff's participation in contracting with the Defendant took place

in Oklahoma County, Oklahoma.
4. This Court has both subject matter and personal jurisdiction over the parties.

5. Venue is proper in Oklahoma County as all of the contracting took place in

Oklahoma City, Oklahoma County, Oklahoma.
STATEMENT OF CASE

6. That in the winter of 2018, the Plaintiff entered into a contract with the
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Defendant, Carnival Cruise Line, for an excursion cruise which was to leave
port on 2/24/2019. The Plaintiff embarked on said cruise, and on 2/26/2019, as
part of the cruise package, she was directed to ride horses and was told that the
ride would be along the beach. Instead, the agents and employees lead the horse
to deep ocean waters, causing the horses to run and swim in deep waters. The
Plaintiff, being aboard one of the swimming horses, was injured. The horse she
was on was uncontrollable as he was struggling for his life from drowning.
While flailing, the horse injured the legs, hips, lower back, and generally the
Plaintiff's whole body, which was strained, traumatized, herniated, and their
function impaired. The Plaintiff's injuries to the body were constant, painful,
and progressive. The Plaintiff was forced to use a wheel chair and cane for the

rest of the duration of the cruise due to her pain.

CAUSES OF ACTION
BREACH OF CONTRACT
Comes Now the Plaintiff an incorporates all the preceeding allegations and avertments
and states as follows:

7. There existed a contract between the Plaintiff and the Defendant for an
excursion cruise. The Defendant breached said agreement by failing and
refusing to control and properly operate the horse-riding portion of its cruise
package. That caused, as a direct result, the Plaintiff to be harmed in an amount
that has yet been determined.

NEGLIGENCE

Comes Now the Plaintiff an incorporates all the preceeding allegations and avertments
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and states as follows:

8. The Plaintiff occupied the status as a business invitee as a participant in said
cruise excursion. As such, the Defendant owed a duty of care to maintain safe
conditions. The Defendant breached that duty, as well as their general duty not
to harm as follows:

A) The Defendant failed to properly train their horses or, if there was a sub-
contractor for the horses, ensure their sub-contractor properly trained the
horses for deep water encounters.

B) The Defendant, its agents, and sub-contractors, failed to control the horses so
as to prevent this from going into deep water hazards.

C) The Defendant failed to control their horses.

D) The Defendant failed to supervise the beach horse riding program so as to
render it safe for the Plaintiff and those similarly situated.

E) The Defendant failed to operate their horse program in a working manner.

F) As a direct and proximate result of Defendant’s negligence, the Plaintiff's
body was strained, traumatized, herniated, and its function impaired. Said
injuries are constant, painful, and progressive. As a result of said injuries, the
Plaintiff has and will continue to incur medical expenses, has and will suffer
pain of mind and body, travel expenses, and the rest of the events of the
cruiseexcursion, and has been injured and damaged in an amount in excess of
the amount required for Federal jurisdiction pursuant to Section 1332 of Title

28 of the United States Code.
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BREACH OF FIDUCIARY DUTY
Comes Now the Plaintiff an incorporates all the preceeding allegations and avertments
and states as follows:

9. That the parties had a contract in which the Plaintiff submitted to the care of
the Defendant for an excursion cruise. That the Plaintiff submitted to such
care and thereby a fiduciary agreement was from that the Defendant would
protect the Plaintiff from harm while she was in the care of the Defendant.
The Defendant breached this duty of care and was harmed by said breach in

an amount yet to be determined.

WHEREFORE, Plaintiff, Debora K. Balfour, prays judgment in an amount in
excess of the amount required for Federal jurisdiction pursuant to Section 1332 of Title 28
of the United States Code, together with interest, attorney fees, cost of this action, and any

other relief that may be available and deemed appropriate by the Court.

ATTORNEY LIEN CLAIMED

Resp nn submitted,

 

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